         Case 1:25-cv-01270-ACR          Document 33       Filed 05/22/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    ROBERT F. KENNEDY HUMAN RIGHTS,
    et al.,

                 Plaintiffs,

          v.
                                                           Civil Action No. 25-1270-ACR
    U.S. DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity,

                 Defendants.


                                  NOTICE OF DECLARATION

         In response to the Court’s order immediately following the status conference held at 4 p.m.

this Thursday, May 22, 2025, Defendants respectfully submit the attached declaration of Troup

Hemenway. 1 As described in their filing earlier this evening, ECF No. 32, Defendants have

worked diligently and as expeditiously as possible to identify, and coordinate with the Department

of Homeland Security as to, the personnel most knowledgeable and best situated to testify to the

matters identified by the Court during the status conference. But Defendants note for the Court’s

awareness that potential declarants’ respective areas of subject-matter expertise and factual

knowledge, schedules, and availability under an expedited submission timetable factored into the

determination of which DHS personnel were best situated, accounting for all circumstances, to

provide testimony on the directed topics.




1
  Mr. Hemenway’s declaration follows the previously submitted declaration of Nicole C.
Barksdale-Perry, and addresses the topics directed by the Court not previously addressed by Ms.
Barksdale-Perry’s declaration.
      Case 1:25-cv-01270-ACR   Document 33   Filed 05/22/25      Page 2 of 2




Dated: May 22, 2025                     YAAKOV M. ROTH
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                                        /s/    Christopher R. Hall
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